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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                 SOUTHERN DISTRICT
SALA NAAMBWE and YVETTE NIMENYA                  Case No.:      4:17-cv-04123-LLP

       Plaintiffs,
                                                     DEFENDANT’S TRIAL BRIEF ON
                      vs.                          PROMPT AND EFFECTIVE REMEDIAL
                                                       ACTION UNDER TITLE VII
 SMITHFIELD FOODS, INC.

       Defendant.

       Defendant Smithfield Packaged Meats Corp. (“Smithfield”) respectfully submits this

Trial Brief regarding the standard for employers to show prompt and effective remedial action to

end co-worker harassment under Title VII, and shows the Court the following:

I.     Smithfield responded promptly upon Plaintiffs’ report of harassment.

       To establish the fifth element of a hostile work environment claim based on conduct by a

non-supervisory co-worker, Plaintiffs must show that Smithfield knew or should have known

about the harassment and failed to take prompt remedial action reasonably calculated to stop the

harassment. Stewart v. Rise, Inc., 791 F.3d 849, 862 (8th Cir. 2015). Courts consider several

factors in assessing the reasonableness of an employer's remedial measures, including “the

temporal proximity between the notice and remedial action, the disciplinary or preventive

measures taken, and whether the measures ended the harassment.” Meriwether v. Caraustar

Packaging Co., 326 F.3d 990, 994 (8th Cir. 2003). Some courts view this element as requiring

two steps from the employer: “first, the short-term, temporary steps taken to deal with the

situation while the employer takes steps to determine whether the complaint is valid, and second,

the permanent remedial steps taken following the completion of the investigation into the

complaint.” Wilson v. City of Des Moines, 338 F. Supp. 2d 1008, 1035 (S.D. Iowa 2004) (citing

Swenson v. Potter, 271 F.3d 1184, 1193–94 (9th Cir. 2001)).


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         The case law does not include an explicit timing requirement for remedial action to be

deemed “prompt,” but, generally speaking, an initial response within a few days of an

employer’s knowledge of alleged harassment is sufficient. Tucker v. United Parcel Serv., Inc.,

734 F. App'x 937, 938–39 (5th Cir. 2018) (finding sufficient timeliness where employer

investigated employee’s allegations the week after it learned about them); Crawford v. BNSF Ry.

Co., 665 F.3d 978, 985 (8th Cir. 2012) (imposing discipline two days after knowledge of

harassment was sufficiently prompt); Engel v. Rapid City Sch. Dist., 506 F.3d 1118, 1125 (8th

Cir. 2007) (imposing discipline four days after knowledge of harassment by supervisor met

promptness requirement); Weger v. City of Ladue, 500 F.3d 710, 724 (8th Cir. 2007) (finding

corrective action taken the day after learning about alleged harassment sufficiently prompt, even

though plaintiff disagreed with discipline); Meriwether, 326 F.3d at 994 (8th Cir. 2003) (finding

initial discipline, followed by one week investigation, sufficiently prompt); Swenson, 271 F.3d at

1193–94 (9th Cir. 2001) (finding investigation commenced within three days of employee’s

complaint satisfied promptness requirement).

         Here, the Genzler incident occurred on Friday, and the plaintiffs and Ms. Morales

reported the incident to their supervisor, Russ Hultman, the next day - Saturday. Hultman called

a meeting that same Saturday, in which Genzler admitted that he had made the statements

reported by the plaintiffs and Ms. Morales. Hultman then reported what he had learned to

Human Resources on Monday morning. 1 Genzler received discipline the same day HR learned

about the incident (Monday) and both Plaintiffs admitted in their depositions that the conduct

never occurred again. As such, Smithfield’s response met the legal requirements for both

promptness and reasonableness because it responded quickly and its response ended the


1
  The fact that Plaintiffs and Ms. Morales went to Human Resources to file this report before Mr. Hultman had time
to do so does not change the ultimate fact that Hultman apprised Human Resources of what he had learned.


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harassing conduct.        Weger, 500 F.3d at 724 (8th Cir. 2007) (finding where the employer

responds to a harassment complaint in such a way as to promptly stop the harassment, “there is

no basis for finding employer's postcomplaint actions not sufficiently corrective”).

II.      Smithfield met its obligation to impose discipline sufficient to stop the harassing
         behavior and it had no obligation to impose more severe discipline because its
         discipline was effective.

         Plaintiffs object to the quantum of discipline Smithfield elected to use to reprimand

Genzler for his conduct: a written warning. Title VII does not require an employer to fire a

harasser or use its harshest disciplinary options, as long as the discipline is reasonable calculated

to end harassment and effectively does so. Barrett v. Omaha Nat. Bank, 726 F.2d 424, 427 (8th

Cir. 1984) (finding employer met its obligation when, within four days of learning about alleged

harassment, it warned the harasser than any further misconduct would result in termination);

Davis v. Tri-State Mack Distributors, Inc., 981 F.2d 340, 343–44 (8th Cir. 1992) (requiring more

than a mere request to cease offensive conduct to qualify as prompt remedial action, but finding

acceptable any discipline reasonably calculated to end the harassment). 2 As long as the

employer's response is prompt and adequate, the plaintiff will fail to meet the fifth element of her

claim. Meriwether, 326 F.3d at 994 (finding employer met its obligation when it suspended

harasser pending investigation, increased suspension after investigation and the harassment did

not recur).




2
  See also Williams-Boldware v. Denton Cty., Tex., 741 F.3d 635, 641–42 (5th Cir. 2014) (finding employer met its
obligation to take prompt remedial action when it verbally reprimanded harassing supervisor and no longer allowed
him to supervise plaintiff); May v. Fedex Freight E., Inc., 374 F. App'x 510, 512 (5th Cir. 2010) (finding employer
met is obligation when it issued co-worker a written warning and temporary suspension, in part because Title VII
does not require the employer to use the most serious sanction available, especially for an employee’s first offense);
Ellison v. Brady, 924 F.2d 872, 881–82 (9th Cir. 1991) (finding employer need not fire harasser, but instead must
‘persuade individual harassers to discontinue unlawful conduct’ and judging effectiveness of remedial measures on
whether they accomplish that goal); Poole v. S. Arkansas Univ. Tech. Coll., No. 04-CV-1089, 2006 WL 1096373, at
*5–6 (W.D. Ark. Apr. 25, 2006) (finding employer met its legal obligations to take prompt remedial action where it
issued harasser a written reprimand and conduct subsequently stopped, even though plaintiff wanted harasser fired).


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       Here, the evidence will show Smithfield issued Genzler reasonable discipline based on

his conduct and disciplinary history,     and that the discipline was effective in ending the

harassment. For that reason, Plaintiffs cannot establish an essential element of their hostile

environment case: that Smithfield failed to take prompt and appropriate remedial measures that

stopped any harassment. It is undisputed that Smithfield did so. The fact that Plaintiffs would

have preferred that Genzler receive harsher discipline is of no consequence as a matter of law.

Date: October 19, 2018                       Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing was served via the Court’s electronic

filing system on the following counsel for Plaintiffs:

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